           Case 1:19-cv-00804-VEC Document 79 Filed 11/02/20 Page 1 of 1
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                                                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                        DOC #:
SOUTHERN DISTRICT OF NEW YORK                                                       DATE FILED: 11/2/2020
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 J.V. AN INFANT BY HIS FATHER AND                               :
 NATURAL GUARDIAN, MIGUEL VASQUEZ- :
 CASTRO AND MIGUEL VASQUEZ-CASTRO, :
 INDIVIDUALLY,                                                  :
                                                                :           19-CV-804 (VEC)
                                              Plaintiffs,       :
                                                                :                ORDER
                            -against-                           :
                                                                :
                                                                :
 ACER AMERICA CORPORATION, MICRO                                :
 ELECTRONICS, INC., MICRO CENTER, INC., :
 WISTRON INFOCOMM TECHNOLOGY                                    :
 CORPORATION, AND PANASONIC                                     :
 INDUSTRIAL SALES TAIWAN CO., LTD.,                             :
                                                                :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS on August 31, 2020, the Court adjourned the conference scheduled for

September 4, 2020, until November 6, 2020 (Dkt. 76);

        IT IS HEREBY ORDERED that the conference will be held as a teleconference on

November 6, 2020, at 11:00 a.m. The parties may dial-in to the proceeding using (888) 363-

4749 // Access code: 3121171# // Security code: 0804#.



SO ORDERED.
                                                                    ________________________
Date: November 2, 2020                                                 VALERIE CAPRONI
      New York, New York                                             United States District Judge
